Relator lost the entire sight of his right eye due to a compensable injury. He had at least six and two-thirds per cent vision at the time of the injury, and none afterward. *Page 293 
Under the language employed by the General Assembly in Section 1465-80, General Code, liberally interpreted in favor of the injured workman, relator is entitled to be paid for the loss of the sight of an eye.
As we read it, that part of Section 1465-80, General Code, providing that "in no case shall an award of compensation be made for less than 25-per-cent loss of vision," means that no compensation shall be awarded unless the workman loses more than twenty-five per cent of the vision he actually has.
In our view, the statute as worded does not permit the construction accorded it in the majority opinion. The writ as prayed for should therefore issue.
BELL and HART, JJ., concur in the foregoing dissenting opinion.